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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.                           NO. 4:13CR00268-JLH

MAXWELL VICTOR MASON (01)
JAMES VERNON McKNIGHT (02)
KEITH W. BURFORD (03)
AUSTIN H. TAYLOR (06)                                                    DEFENDANTS

                                        ORDER

      The Court has been advised that summonses issued on September 12, 2013, to

Defendants Maxwell Victor Mason, James Vernon McKnight, Keith W. Burford and

Austin H. Taylor were returned to the Court unexecuted due to missing addresses. The

service addresses have now been provided to the United States Marshal Service.

      The Clerk of Court is directed to re-issue summons to Defendants Maxwell Victor

Mason, James Vernon McKnight, Keith W. Burford and Austin H. Taylor, who are

ordered to appear for plea and arraignment before Magistrate Judge Beth Deere on

September 24, 2013, at 10:00 a.m. , at the Richard S. Sheppard United States Courthouse,

500 West Capitol Avenue, Courtroom 1D, Little Rock, Arkansas. The summons for each

defendant should contain the date, time, and place of the plea and arraignment.

      IT IS SO ORDERED this 16th day of September, 2013.



                                         UNITED STATES MAGISTRATE JUDGE
